Case: 1:13-cr-00617 Document #: 161-1 Filed: 08/09/16 Page 1 of 3 PagelD #:760

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, ) uST
Plaintiff, 5 A
v. 13 CR 617-2
Marvin Bausley
Defendant.

DECLARATION OF PUBLICATION
In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules
of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on November 06, 2015

and ending on December 05, 2015. (See, Attachment 1).

I declare under penalty of perjury that the foregoing is true and correct. Executed on

bit

Barbara Robertson
Contract Paralegal

January 15, 2016 at Chicago, IL.

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
COURT CASE NUMBER: 13 CR 617-2; NOTICE OF FORFEITURE

Notice is hereby given that on October 22, 2015, in the case of U.S. v. Marvin
Bausley, Court Case Number 13 CR 617-2, the United States District Court for the
Northern District of Illinois entered an Order condemning and forfeiting the following
property to the United States of America:

real property commonly known as: 9247 S. Indiana, Chicago, Illinois
PIN: 25-03-310-015 (13-IRS-002174)

real property commonly known as: 14749 S. Clifton Park, Midlothian, IL PIN:
28-11-401-046 (13-IRS-002175)

The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file a Petition within 60 days of the first date of publication (November 06,
2015) of this Notice on this official government internet web site, pursuant to Rule 32.2
of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The petition
must be filed with the Clerk of the Court, United States Courthouse, 219 South
Dearborn Street, 20th Floor, Chicago, IL 60604, and a copy served upon Assistant
United States Attorney Steven Block, 219 South Dearborn, Room 500, Chicago, IL
60604. The petition shall be signed by the petitioner under penalty of perjury and shall
set forth the nature and extent of the petitioner's right, title or interest in the forfeited
property, the time and circumstances of the petitioner's acquisition of the right, title and
interest in the forfeited property and any additional facts supporting the petitioner's
claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

Following the Court’s disposition of all petitions filed, or if no such petitions are
filed, following the expiration of the period specified above for the filing of such
petitions, the United States shall have clear title to the property and may warrant good
title to any subsequent purchaser or transferee.
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Advertisement Certification Report

The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between November 6, 2015 and December 05, 2015. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system's daily
check that verifies that the advertisement was available each day.

U.S. v. Marvin Bausley

Court Case No: 13 CR 617-2
For Asset ID(s): See Attached Advertisement Copy
Consecutive ‘Date Advertisement |. Total Hours Web Site.” | _ Verification that
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5 11/10/2015 24.0 Verified
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7 11/12/2015 24.0 Verified
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29 12/04/2015 24.0 Verified
30 12/05/2015 24.0 Verified

Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
